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12   Attorneys for Defendants Bitdefender S.R.L. and Bitdefender Inc.
13                               UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                         OAKLAND DIVISION
16
     FINJAN, INC., a Delaware Corporation,            Case No: 4:17-cv-04790-HSG
17
                           Plaintiff,                 DEFENDANTS’ REQUEST FOR
18                                                    JUDICIAL NOTICE RE: ORDER
             v.                                       DENYING FINJAN’S MOTION FOR
19
     BITDEFENDER INC., a Florida Corporation,         RECONSIDERATION OF AN ORDER
20   and BITDEFENDER S.R.L., a Romanian               EXCLUDING THE OPINIONS OF
     Corporation,                                     FINJAN’S EXPERTS
21
                           Defendants.
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     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                            Case No. 4:17-cv-04790-HSG
     RE DAUBERT MOTION
     5977226v1/015723
       Case 4:17-cv-04790-HSG Document 200 Filed 12/23/19 Page 2 of 2



 1                      BITDEFENDER’S REQUEST FOR JUDICIAL NOTICE
 2           Bitdefender Inc. and Bitdefender S.R.L. (together, “Bitdefender”) file this Request for
 3   Judicial Notice of an Order denying Finjan’s motion for reconsideration of an Order granting the
 4   exclusion of the opinions of two of its experts, Dr. Ricardo Valerdi and Dr. Eric Cole. That Order,
 5   attached hereto as Exhibit A, was issued by Judge Cathy Ann Bencivengo in the case of Finjan,
 6   Inc. v. ESET, LLC, No. 3:17-cv-0183-CAB-(BGS) (S.D. Cal.) on December 23, 2019. Finjan
 7   referenced the motion for reconsideration—which Judge Bencivengo denied in the attached
 8   Order—in its Opposition to Defendants Bitdefender Inc. and Bitdefender S.R.L.’s Motion to
 9   Exclude Expert Testimony of Russell L. Parr, and Supporting Expert Testimony of Nenad
10   Medvidovic, Michael Mitzenmacher, and Ricardo Valerdi¸ which is currently pending before the
11   Court. See Dkt. 194 at 24 n. 10.
12

13   Dated: December 23, 2019                    KALPANA SRINIVASAN
                                                 OLEG ELKHUNOVICH
14                                               GLENN BRIDGMAN
                                                 MICHAEL ADAMSON
15                                               SUSMAN GODFREY L.L.P.
16                                               IAN B. CROSBY
                                                 SUSMAN GODFREY L.L.P.
17
                                         By:    /s/ Michael Adamson
18
                                                  Michael Adamson
19
                                                 Attorneys for Defendants Bitdefender S.R.L. and
20                                               Bitdefender Inc.

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     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                                  Case No. 4:17-cv-04790-HSG
     RE DAUBERT MOTION                                   1
     5977226v1/015723
